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AO 91 (Rev. 1lll l) Criminal Complaint

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                                                       District of New Mexico                                           A .
                  United States of       America                   )                          MITCI-:*|-I f-:,-ffinS
                                 v.                                ;                                Cl*f'::'ii i'Ij il\ry["rF{'r
                       ctaudiu    pesteteu                         )      case   No' )\ - ) U V-f m A


                           Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of               May 26, 20?3to J!ne@,2024 in the county of                   Luna and Lea            in the
                        District of           New Mexico       , the defendant(s) violated:

             Code Section                                                   Offense Description
18 U.S.C. S 1349                                 Conspiracy to Commit Wire Fraud

18 U.S.C. S 1e56(h)                              Conspiracy to Launder Monetary lnstruments




          This criminal complaint is based on these facts:

See attached affidavit.




          d Continued on the attached sheet.

                                                                                         @    Complainant's signature

                                                                                      Juan C. Sanchez, SpecialAgent
                                                                                               Printed name and title

Sworn to before me and signed in my presence.



Date:     / o-/ zctzt(
                                                                                                 Judge's signature


City and state:                    Las Cruces, New Mexico                        Damian L. Martinez, U.S. Magistrate
                                                                                              Printed name and title
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               AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

I, Juan C. Sanchez, having first been duly sworn, hereby depose and state as follows:

                                       INTRODUCTION

       1.      I am a Special Agent (SA) with Homeland Security Investigations (HSI) and have

been so employed since September of 2021. I am currently assigned to HSI's Deming, New

Mexico office. My primary responsibilities include investigating criminalviolations of the United

States Code in the District of New Mexico. My experience in this position has included but is not

limited to interviewing suspects, witnesses, and victims; executing arrests and searches; collecting

and processing evidenc e; analyzing records and digital evidence; and completing hundreds of

hours of training in these topics and others, such as criminal law and financial crimes.

       2.      I submit this affidavit in support of a criminal complaint charging CLAUDIU
pESTELEU with one count of conspiring to commit wire fraud in violation l8 U.S.C. $ 1349 and

one count of conspiring to launder monetary instruments in violation of l8 U.S.C. $ 1956(h). As

set forth below, CLAUDIU PESTELEU is believed to have the following aliases: Matthias

Zammer; Thomas Muller; Samuel Der Saar; and Fred Laport.

        3.     The statements contained herein are based on my personal knowledge and

observations; information provided to me by other law enforcement; lawfully obtained evidence;

reviews of various documents, records, and reports; and interviews conducted by law enforcement.

        4.     Because I am submitting this affidavit for the limited purpose of establishing

probable cause, it does not include every fact I know concerning the investigation. I have only set

forth the facts I believe are necessary to establish probable cause.

        5.      Unless otherwise noted, all references herein to times and dates are approximate,

and all references herein to document contents and the statements of others are non-verbatim'
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                                    RELEVANT STATUTES
                                                                                            money by
       6.       1g U.S.C. $ 1343 establishes that it is a federal crime to, for obtaining

means of false or fraudulent pretenses, representations, or promises, transmit
                                                                                    or cause to be

transmitted by means of wire in interstate commerce, any writings or signals'

                1g U.S.C. $ 1349 establishes that it is a federal crime to attempt or conspire
                                                                                                     to
       7.
commit any offense under Chapter 63 - Mail Fraud and Other Fraud Offenses'

       g.       lg U.S.C. g 1956(a)(1XA)(i) establishes that it is a federal crime to, knowing that

the property involved in a financial transaction represents the proceeds of some
                                                                                   form of unlawful

activity, conduct or attempt to conduct such a financial transaction which in fact involves
                                                                                                    the


proceeds of specified unlawful activity with the intent to promote the carrying on
                                                                                        of specified

unlawful activity.

        g.      lg U.S.C. g 1956(a)(1)(B) establishes that it is a federal crime to, knowing that the

property involved in a financial transaction represents the proceeds of some form of unlawful

activity, conduct or attempt to conduct such a financial transaction which in fact involves
                                                                                                    the


proceeds of specified unlawful activity, knowing that the transaction is designed in whole
                                                                                                  or in

part to conceal or disguise the nature, the location, the source, the ownership, or the control
                                                                                                  of the

 proceeds of specified unlawful activity.

        10.      l8U.S.C. g 1956(c)(7)and l8U.S.C. $ 1961 establishthatviolationsof l8U.S.C.

 $ 1343 (relating to wire fraud) constitute a specified
                                                          unlawful activity.

         l l.    l8 U.S.C. $ 1956(h) establishes any person who conspires to commit any offense
                                                                                            prescribed
 defined in section 1956 or section 1957 shall be subject to the same penalties as those

 for the offense the commission of which was the object of the conspiracy'

         lZ.     l8 U.S.C. g 1957(a) establishes that whoever, in certain specified circumstances,
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                                                                                    derived property
knowingly engages or attempts to engage in a monetary transaction in criminally
                                                                                   shall be punished'
of a value greater than $10,000 and is derived from specified unlawful activity,

                                 RELEVANT TARGET ENTITIES

        13. According to records from Florida Department of State, Division of Corporations,
zammer Equipment LLC ("Zammer Equipment") is a Florida-registered
                                                                                   Limited Liability

Company organized on May 26, 2023, principal office located in Jacksonville'
                                                                                          FL' whose

authorized member is "Matthias Zammer." "Matthias Zammer" is a known alias
                                                                                       of CLAUDIU

PESTELEU.

        14. Super Exotic Deals LLC ("Super Exotic Deals") is a Florida-registered Limited
                                                                                                  FL,
Liability Company organized on March 07,2024, principal office located in Pembroke Pines,

whose authorized member is "samuel Der Saar." "samuel Der Saar" is an alias of CLAUDIU

PESTELEU.

        15. premier E,. Liquidators LLC ("Premier E. Liquidators") is a Florida-registered
 Limited Liability Company organized on February 26,2024, principal office located
                                                                                           in Weston,

 FL, whose authorized member is "Fred Laport," who is believed to be an alias for CLAUDIU

 PESTELEU.

         16. SA Locistics Engines LLC ("SA Locistics") is a Florida-registered Limited
 Liability Company organized on July 13,2023, principal office located in Aventura, FL, whose
              ..Simon Andersen." "Simon Andersen" is believed to be an alias of Co-Conspirator 1 '
 manager is

         17. Equipment Types Machinery LLC ("Equipment Types Machinery") is a Florida-
                                                                                            located in
 registered Limited Liability Company organized on July 28, 2023, principal office

                                                                                           is believed
 Jacksonville, FL, whose authorized member is "Dino Gustavson." "Dino Gustavson"

 to be an alias of Co-ConsPirator 2.
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       18. Baileys Garage LLC ("Baileys Garage") is a Florida-registered Limited Liability
Company organized on November 08, 2023, principal
                                                       office located in Tampa' FL' whose

authorized member is "Oliver Dortt," who is believed to
                                                          be an alias for an unidentified Co-

Conspirator.

       19. Adler pre Owned LLC ("Adler Pre Owned") is a Florida-registered Limited
                                                                           in Palmetto Bay, FL'
Liability company organized on July 25,2023, principal office located
                                                                  an alias for an unidentified co-
whose authorized member is "Boris Adler," who is believed to be

Conspirator.

        20. Bittman Motors LLC (.'Bittman Motors") is a Florida-registered Limited Liability
Company organized on June Ol, 2023, principal office located
                                                                    in Jacksonville' FL' whose
                                                                    alias for an unidentified Co-
authorized member is "Fritz Bittman," who is believed to be an

Conspirator.

                            RELEVANT TARGET BANK ACCOUNTS

         21. According to records, Regions Bank account ending in"0748" is titled to zammer
                                                                        which is a known alias of
 Equipment and was opened on July 12,2023, by "Matthias Zammer,"
                                                                            sole signatory on the
 CLAUDIU PESTELEU, in Jacksonville, FL. "Matthias Zammer" is the

 account.

         ZZ. Regions Bank account ending in "9066" is in the name of "Matthias Zammer," and
                                                                    a known alias of QLAUDIU
 was opened on June 02,2023, by "Matthias Zammer," which is
                                                                         signatory on the account.
 PESTELEU, inNorth Miami Beach, FL. "Matthiaszammer" is the sole

            23. Bank of America, N.A. account ending in "8038" titled to zammet Equipment
                                                                        which is a known alias of
 opened on June 06,2023,by managing member "MatthiaS zammer,"

 CLAUDIU PESTELEU, in Jacksonville, FL'
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       24.BankofAmerica,N.A.accountendingin"223S"titledto"MatthiasZammer"

opened on June 06, 2023, by "Matthi as Zammer""
                                                      which is a known alias of CLAUDIU

PESTELEU, in Jacksonville, FL.

        25. Bank of America, N.A. account ending in "6533" is associated with Super Exotic
                                                          alias of CLAUDIU PESTELEU'
Deals and "samuel Der Saar," which is believed to be an

        26. Truist bank account ending in "0869" is associated with "samuel Der Saar," and
                                                          another record from a branch located in
Super Exotic Deals, by way of surveillance footage and

                                                                       withdrawing $15'000'00 in
Dallas, TX, dated June 20, 2024, depicting CLAUDIU PESTELEU,

United States currency.

        27. Truist bank account ending in"7893" is associated with "Fred Laport" by way of
                                                                in Miami Beach, FL, dated June 04'
surveillance footage and another record from a branch located

                                                                    in United States culrency'
 2024, depicting cLAUDIU PESTELEU, withdrawing $12,000.00

        28. JPMorgan Chase Bank, N.A. account ending in,,2236,, titled to SA Locistics
 opened on July 18,2023,by manager "simon Andersen," in
                                                                Aventura, FL"'Simon Andersen" is


 believed to be an alias of Co-Conspirator 1'

         Zg. Wells Fargo Bank, N.A. account ending in"7262" titled to SA Locistics opened on
 Julyl8,2023,bymanager"SimonAndersen,"inSunnyIsles'FL'

         30. TD Bank, N.A. account ending in "0679" is associated with SA Locistics by way
                                                                     in Aventura, FL' dated August
 of surveillance footage and another record from a branch located

  03,2023, depicting Co-Conspirator 1, who is believed to have
                                                                      the alias "Simon Andersen"'

 withdrawing $13,000.00 in United States currency'
                                                  o'0830" is associated with Equipment Types
         3l.    Truist bank account ending in

 Machinery by way of surveillance footage and another record
                                                                        from a branch located in
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Jacksonville, FL, dated Augu st 05,2023, depicting Co-Conspirator 2, who is believed to have the

alias "Dino Gustavson," withdrawing $15,000.00 in United States currency.

        32. Bank of America, N.A. account ending in "8941" titled to Equipment Types
Machinery opened on August Ol,2)23,by authorized member "Dino Gustavson," in Jacksonville,

FL.

       33. Bank of America, N.A. account ending in"2266" titled to Baileys Garage opened
on November 14,2023,by authorized member "Oliver Dortt," inLulz, FL. "Oliver Dortt" is

believed to be an alias.

        34. JPMorgan Chase Bank, N.A. account ending in "1672" associated with "Boris
Adler," who is believed to be an alias for an unidentified Co-Conspirator.

        35. TD Bank, N.A. account ending in"2836" associated with "Fritz Bittman," who is
believed to be an alias for an unidentified Co-Conspirator.

        36. SouthState Bank, N.A. account ending in "8804" is associated with "FtitzBittman,"
who is believed to be an alias for an unidentified Co-Conspirator.

                  BACKGROUND CONCERIIING THE INVESTIGATION

        37. In August of 2023, HSI Deming began investigating a large-scale criminal
conspiracy involving CLAUDIU PESTELEU, and other known and unknown persons, for

committing violations of and relating to l8 U.S.C. $ 1956 and 18 U.S.C. $ 1343.

        38. In furtherance of the conspiracy, the subjects under investigation create and/or
 cause to be created web pages and/or sites falsely purporting to be legitimate businesses

 advertising vehicles, boats, farm equipment, heavy machinery, and other conveyances available

 for sale and/or auction online.

         39. Many pages and/or sites are designed to strongly resemble those of actual legitimate
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dealerships, often including high resolution photographs, video showcases, and virtual tours that

conspirators duplicate from legitimate dealerships' websites. ln some instances, the websites have

additional sophisticated features such as chat bots that enable customers to communicate with
                         o'seller" in real-time.
representatives of the

        40. In fact, the "sellers" represented by the co-conspirators to be legitimate businesses
were either (l ) an entirely fictitious business that has no legitimate incorporation filings or physical

location, or (2) acurrent or formerly legitimate business that was previously incorporated and has

I had a physical location, digital footprint, et cetera.

        41. The conspirators regularly create and/or cause to be created numerous web pages
and sites corroborating the existence of the fraudulent "seller." Examples include postings to

various commercial car sales websites such as Kelly Blue Book, CarFax, AutoTrader, Cars.com

et cetera, as well as postings to social media web sites, such as Facebook, and various consumer

directories and mapping services such as Google Maps.

         42. After being contacted by victims who locate the advertisements and express interest
in completing purchases, the conspirators routinely communicate with victims by way of electronic

mail, text messaging, chat messaging, and/or telephone. In doing so, conspirators often negotiate

regarding the purchase price and/or delivery fees; offer to schedule appointments during which

victims can inspect the item in person; and send additional documentation corroborating the

existence of the purported seller and product, including photos and videos not included in the

original advertisement; fraudulent history and service reports; warranties; refund policies and

money-back guarantees; et cetera. If fraudulently misrepresenting themselves as staff from a

 legitimate dealership, conspirators also often send copies of the legitimate organization's historical

 incorporation records and/or business licenses, which are obtainable through the appropriate
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regulatory agencies.

        43. After victims agree to complete the purchase for a negotiated price and delivery
fee, conspirators provide the victims and/or their banking representatives with wiring instructions

and fraudulent titles, bills of sale, purchase orders, and/or invoices. The conspirators further advise

victims that they will initiate delivery after the funds transfer is complete.

        44. The actions outlined in the preceding paragraphs serve to legitimize the
conspirators' fraudulent activities and dispel any potential suspicions from victims, bank officials

reviewing loan applications and/or wire transfer requests, and law enforcement with whom victims

inquire about the legitimacy of the 'oseller." In effect, this maximizes the probability that potential

victims will ultimately transfer funds to the conspirators to complete purchases.

        45. After receiving victims' funds, conspirators ultimately terminate contact with the
victims and fail to deliver the purchased product.

        46. The bank accounts into which conspirator(s) direct victims to transfer funds are
held by beneficiary entities that, while officially incorporated, are otherwise illegitimate shell

companies. Unlike many of the purported "seller" entities, these corporations are exclusively

controlled by conspirators and lack any association to existing or formerly legitimate companies.

Using aliases and fraudulent identification documents purportedly issued by foreign nations, the

conspirators establish these entities and bank accounts to receive, layer, and/or launder fraud

proceeds.

        47.     By way of the fraud scheme described above, conspirators have received proceeds

exceeding $2,137,000 from over 50 victims in the United States.

                             STATEMENT OF PROBABLE CAUSE

        48.     In April of 2OZ4,Victim-l (V-l), who is from Missouri City, Texas, informed HSI
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Deming that V-l was defrauded of $20,000.00, by SA Locistics, after
                                                                        V-l transmitted one wire

transfer for one 2017 Audi Q7 that V-1 never received'

        49. In or about August of 2023, Y-l communicated with unknown person(s)'
                                                                               Penny" (an identity
telephonically and via electronic mail, who identified themselves as "Rodney

believed to be false) and the first name of the person now believed
                                                                      to be the actual owner of an

                                                                               the purchase of one
actual business in Deming, New Mexico (Impersonated Business l) regarding

2017 Audi Q7 v-l initially saw for sale on a web site purporting to
                                                                               be associated with

                                                                         had no involvement with
Impersonated Business L The actual business in Deming, New Mexico

v-1.

        50. V-l was provided a 'New Mexico Vehicle Purchase Order' that read, in part, "SA
Locistics Engines LLC dba [Impersonated Business 1]." V-l was also
                                                                            provided with wiring

instructions.

         51. In or about August 14,2023,V-l wire transferred $20,000.00 to the SA Locistics
 JP Morgan chase Bank, N.A. account ending in"2236" to complete
                                                                      the purchase'


         52. The bank statement for SA Locistics' JP Morgan Chase Bank, N.A. account ending
                                                                                       balance was
 in "2236," from Augu st 1,2023, through August 31,2023, showed the beginning

 $196.13, and increased by $20,000.00 following v-l's wire transfer.
                                                                        on August 16,2023'there

 was one 'PIN Code Authorized' 'EWithdrawal', in the sum of $19,500.00.

         53. In May of 2024, Victim-2 (Y-2), who is from Eunice, Lea County, New Mexico'
                                                                                          after V-2
 informed HSI Deming that V-2 was defrauded of $22,520.00, by SA Logistics,
                                                                               never received'
 transmitted one wire transfer for one 2Ol7 JCB 535-95 Telehandlet thatY-2

          54. In or about September of 2023, V-2 communicated with unknown person(s), via
                                                                                       the purchase
 electronic mail, whom V-2 believed were from Impersonated Business 2, regarding
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of one 2Ol7 JCB 535-95 Telehandler V-2 initially saw for sale on a web site purporting to be

associated with Impersonated Business Website 2.

       55. V-2 was provided wiring instructions that read, in part, "Legal Business Name: SA
LOGISTICS ENGINES LLC - DBA [lmpersonated Business 2.]"

       56. In or about September 06, 2023, Y-2 wire transferred $22,520.00 to the SA
Locistics Wells Fargo Bank, N.A. account ending in"7262" to complete the purchase.

       57. The bank statement for SA Locistics' Wells Fargo Bank, N.A. account ending in
*7262,- from September 1, 2023,through September 30,2023, showed beginning balance was

$100.00, and increased by $22,520.00 following V-2's wire transfer. There was one in-branch

withdrawal for $25,000.00, and one in-branch withdrawal for $9,500.00, on September 07 ,2023.

       58. In May of 2024, Victim-3 (V-3), who is from Luther, Oklahoma, informed HSI
Deming that V-3 was defrauded of $24,000, by SA Locistics, after V-3 transmitted one wire

transfer for one Bobcat Skid Steer that V-3 never received.

        59. In or about August of 2023, V-3 communicated with an unknown person, via
electronic mail, and telephonically, who identified himself by the name of an actual person whose

initials are F.M. who works for Impersonated Business 3, regarding the purchase of one Bobcat

Skid Steer V-3 initially saw for sale in a Facebook advertisement that directed V-3 to a web site

purporting to be associated with Impersonated Business Website 3.

       60. V-3 was provided wiring instructions that read, in part, "Account Name: SA
I,OCISTICS ENGINES LLC."

        61. In or about August 4,2023, V-3 wire transferred the funds to the SA Locistics TD
Bank, N.A. account ending in "0679" to complete the purchase.

       62. Review of surveillance footage from a TD Bank, N.A. branch located in Aventura,

                                                10
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FL, dated August 03,2023,and associated with SA Locistics'TD Bank, N'A' account
                                                                                         ending in

'00679," depicts Co-Conspirator I withdrawing $13,000'00 in cash'

       63. In May of 2024,Victim-4 (V-4), who is from Tabemash, Colorado, informed HSI
Deming that v-4 was defrauded of $24,000.00, by Zammer Equipment, after v-4 transmitted
                                                                                               one


wire transfer for one Bobcat Skid Steer that v-4 never received.

        64. In or about August of 2023, V-4 communicated with unknown person(s), via
                                                                                      the purchase
electronic mail, whom V-4 believed was F.M. of Impersonated Business 3 regarding

of one Bobcat Skid Steer.

        65. V-4 was provided wiring instructions that read, in part, "Account Name: Zammer
Equipment and a 'Buyers Guide' that read, in part, "Dealer Name [Impersonated Business
                                                                                             3]."

        66. In or about August 25, 2023, V-4 wire transferred $24,000.00 to the Zammer
Equipment Regions Bank account ending in "0748" 1o complete the purchase'

        67. The bank statement for Zammer Equipment's Regions Bank account ending in
0,0748,,, from August l,2023,through August 31,2023, showed balance was $100.00 on August


 16,ZO23,and increased by $24,000.00 following V-4's wire transfer. There was one Automated

Teller Machine withdrawal for $844.00 on August 28,2023,one wire transfer debit for $16,000.00

on August 28,2023,and one wire transfer debit for $64,000.00 on August 29,2023'

        68.     On Septemb er 28,2023,there was one wire transfer in the sum of $15,500.00, from

 Zammer Equipment's Regions Bank account ending in"0748," to JPMorgan Chase,
                                                                                      N.A. account

 ending in,,1672,', in the name of "Boris Adler," who is believed to be an alias for an unidentified

 Co-Conspirator.

         69. Records from Zammer Equipment's Regions Bank account ending in "0748," and
 ,,Matthias Zammer's", which is a known alias of CLAUDIU PESTELEU, Regions Bank account




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ending in "9066," revealed the following pattern of equal in sum debits and credits:

           a. On August 28, 2023, $16,000.00 debit from account ending in "0748" and
                $16,000.00 credit in account ending in "9066."

           b.   On August 29, 2023, $64,000.00 debit from account ending in "0748" and

                $64,000.00 credit in account ending in "9066."

           c.   On August 30,2023, $41,000.00 debit from account ending in "0748" and

                $41,000.00 credit in account ending in "9066."

        70. Review of "Matthias Zammer's", which is a known alias of CLAUDIU
PESTELEU, Regions Bank account ending in "9066," revealed that on August 28,2023,there was

one wire transfer in the sum of $15,500.00, to Payward Ventures Inc. account ending in"4309."

On August 29,2\23,there was one wire transfer in the sum of $63,000.00, to Payward Ventures

Inc. account ending in"4309." On August 30,2023, there was one wire transfer in the sum of

$41,000.00, to Payward Ventured Inc. account ending in"4309." On August 31,2023, there was

one wire transfer in the sum of $40,996.00, from Payward Ventures Inc. account ending in"4309,"

to "Matthias Zammer's" Regions Bank account ending in"9066." On September 0l ,2023,there

was one wire transfer in the sum of $41,000.00, from Regions Bank account ending in "9066" to

TD Bank, N.A. account ending in "2836," in the name of "Fritz Bittman," who is believed to be

an alias for an unidentified Co-Conspirator. Payward Inc., and Payward Ventures Inc., is doing

business as Kraken, a United States-based cryptocurrency exchange.

        71. After identifying Zammer Equipment as a subject entity of interest, HSI Deming
obtained surveillance footage photographs depicting who appears to be CLAUDIU PE,STELEU

engaging in financial transactions for aZammer Equipment Bank of America, N.A. account ending

in "8038," on June 6,2}23,July 28, 2023, Augustl,2023, and August 3,2023. HSI Deming also



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obtained surveillance footage photographs depicting CLAUDIU PESTELEU withdrawing cash

from a "Matthias Zammer," which is a known alias of CLAUDIU PESTELEU, Bank of America,

N.A. account ending in"2238," on August 9,2023-

       72. In May of 2024, Victim 5 (V-5), who is from Harlingen, Texas, informed HSI that
V-5 was defrauded of $23,500.00, by Equipment Types Machinery, after V-5 transmitted one wire

transfer for one 2016 Bobcat Skid Steer T650 that V-5 never received.

       73. [n or about August of 2023, V-5 communicated with unknown person(s), via
electronic mail, whom V-5 believed to be F.M. of Impersonated Business 3 in Homestead, FL,

regarding the purchase of one 2016 Bobcat Skid Steer T650 V-5 initially saw for sale via an

advertisement on Facebook.

       74. V-5 was instructed to wire transfer $23,500.00, to the Equipment Types Machinery
Truist bank account ending in "0830."

       75. In or about August 10,2023, V-5 wire transferred $23,500.00, to the Equipment
                                                o'0830," for the purchase of one 2016 Bobcat Skid
Types Machinery Truist Bank account ending in

Steer T650.

       76. Review of surveillance footage and another record from a Truist bank branch
located in Jacksonville, FL, dated August 05, 2023, and associated with Equipment Types

Machinery Truist bank account ending in "0830," depicts Co-Conspirator 2 withdrawing

$15,000.00 in cash.

       77.     In August of 2024,Victim 6 (V-6), who is from Thermal, California, informed HSI

Deming that V-6 was defrauded of $610,000.00, by Baileys Garage, after V-6 transmitted three

wire transfers for three 2019 Porsche vehicles that V-6 never received.

        78. In or about November and December of 2023,y-6 communicated with unknown

                                                13
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                                                              believed to be A'P' of Impersonated
person(s), telephonically and via electronic mail, whom V-6

                                                             2019 Porsche GT3's, V-6 initially saw
Business 4 in Towanda, PA, regarding the purchase of three

for sale on "www.cars.com."

        79. V-6 was provided three 'Motor Vehicle Bill of Sale' that read, in part, "Seller
name(s): [mpersonated BusinesS 4]," and three invoices with
                                                                   wiring instructions for Baileys

Garage's Bank of America, N.A. account ending in"2266'"

        g0. On or about Nove mber 22,2023,y-6 wire transferred $196,000.00, to the Baileys
Garage Bank of America, N.A. account ending in"2266," to
                                                                  affect the purchase of one 2019

Porsche GT3 RS.

        gl.    On or about November 28, 2023,Y-6 wire transferred $205,000.00,
                                                                                     to the Baileys


 Garage Bank of America, N.A. account ending in "2266," to
                                                                  affect the purchase of one 2019

 Porsche GT3 RS.

         g2. On or about December 06, 2023,Y-6 wire transferred $209,000.00, to the Baileys
 Garage Bank of America, N.A. account ending in "2266,"
                                                               to affect the purchase of one 2019

 Porsche GT3 RS.

        83. The bank statement for Baileys Garage Bank of America, N'A' account ending in
 *2266,- from November 14, 2023, through November 30, 2023, showed beginning balance was

 $0.00, and increased by $401,000.00 following two of
                                                        V-7's wire transfers'

         84. On November 29,2023, therc was one wire transfer, in the sum of $69'700'00'
                                                                     ending in"2266," to Equipment
 transmitted from Baileys Garage's Bank of America, N.A. account

 Types Machinery Bank of America, N.A. bank account ending in "8941'"

         g5. The bank statement for Baileys Garage Bank of America, N.A. account ending in
  *2266,. from December 01, 2023,through December 31, 2023, showed beginning balance was



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$60,954.88, and increased by $209,000.00 following one of
                                                            v6's wire transfers'

        86. The bank statement for Equipment Types Machinery Bank of America, N'A'
                                                                                  30' 2023' showed
account ending in "8941," from November 01,2023, through November
                                                                           the wire transfer from
beginning balance was $90.85, and increased by $69,700.00 following

Baileys Garage Bank of America, N.A. account ending in"2266'"

        87   .   In Septemb er of 2024, Victim-7 (V-7), who is from Huntington Beach, California'

                                                                                 after V-7 transmitted
informed HSI that V-7 was defrauded of $215,000.00, by Super Exotic Deals,

one wire transfer for one 2022Porsche GT3 that V-7 never received.

        88. In or about April of 2024, V-7 communicated with unknown person(s), via
electronic mail, who identified themselves by name and claimed to work
                                                                                    for Impersonated

                                                                            seen for sale on a web
Business 5, regarding the purchase of one 2022Porsche GT3 V-7 initially

                                                                                  Business 5 appears
site purporting to be associated with Impersonated Business 5. Impersonated

                                                                                 September 30, 2010'
to be a legitimate company, in the state of Louisiana, that was established on

        g9. ln or about April 10, 2024,V-7 wire transferred $215,000.00, to the Super Exotic
 Deals Bank of America, N.A. account ending in "6533" for the purchase of
                                                                                    one 2022 Porsche


 GT3.

         90.     CLAUDIU PESTELEU is associated with the Super Exotic Deals Bank of

 America, N.A. account ending in "6533," by way of one suspected fraudulent
                                                                                        or counterfeit

                                                                                    of during an arrest
 Belgium passport, in the name of "samuel Der Saar," that he was in possession
                                                                                   photograph on the
 on or about June 25,2024, by Gainesville Police Department (GPD). The
                                                                                     PESTELEU with
 suspected fraudulent or counterfeit Belgium passport appears to be CLAUDIU

 medium-to-long facial hair.

         91.      On or about September I 1,2024,HSI Deming received supporting documentation



                                                  l5
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from Bank of America, N.A. for Super Exotic Deals' account ending in "6533."
                                                                                   A review of the

                                                                                      wire transfer
supporting documentation revealed that on Aprit 10, 2024,there was a $215,000.00

                                                                                        and at least
credit posted to Super Exotic Deals' Bank of America, N.A. account ending in "6533,"

one cash withdrawal, in the sum of $20,000.00, whose description indicates
                                                                              it occurred in Sunny

Isles Beach, FL. Supporting documentation also revealed the address associated
                                                                                  with Super Exotic

Deals was in Pembroke Pines FL.

         gZ. In Septemb er of 2024,Victim 8 (V-8), who is from Greenville, Michigan, informed
HSI Deming that V-8 was defrauded of 522,200.00, by Adler Pre Owned, after V-8 transmitted

one wire transfer for one Caterpillar skid steer that V-8 never received.

         93. In or about December of 2023, V-8 communicated with unknown person(s), via
electronic mail, whom V-8 believed were representatives of Impersonated Business 6, regarding

                                                                                            Website
the purchase of one Caterpillar skid steer that V-8 saw for sale on Impersonated Business

6.

         94. V-8 was provided an invoice that read, in part: "[Impersonated Business 6]" and
contained wiring instructions that read, in part: "Business Account Name: ADLER PRE OWNED,

 LLC."

         95. On or about December27,2023,V-lwire transferced$22,200.00, to "Boris Adler,"
 who is believed to be an alias for an unidentified Co-Conspirator, JPMorgan Chase Bank, N.A'

 account ending in "1672" to affect the purchase of one Caterpillar skid steer'

         96. In Septemb er of ZO24,Victim 9 (V-9), who is from Phoenix, Arizona informed HSI
 Deming that V-9 was defrauded of $42,900.00, by Bittman Motors, after V-9 transmitted one wire

 transfer for one 2015 Airstream that V-9 never received.

          97. In or about September of 2023, V-9 communicated with unknown person(s),

                                                  t6
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telephonically and via electronic mail, who V-9 believed were representatives of Impersonated

Business 7 , regarding the purchase of one 2015 Airstream that V-9 saw for sale on a Google Sites

web page purporting to be associated with Impersonated Business 7.

       98.      On or about September 13, 2023, V-9 wire transferred $42,900.00, to Bittman

Motors, which is associated with "FritzBittman", who is believed to be an alias for an unidentified

Co-Conspirator, SouthState Bank, N.A. account ending in "8804" to affect the purchase of one

2015 Airstream.

       99. In June of 2024, GPD arrested a person who identified himself as "Thomas Muller,"
a known alias of CLAUDIU PESTELEU, and provided "Deutschland" identification in that name,


for numerous state offenses related to narcotics and fraudulent document possession. During

CLAUDIU PESTELEU's arrest, GPD seized multiple suspected fraudulent documents from

CLAUDIU PESTELEU, including but not limited to:

           a. One Belgium passport, number ending in"3617" in the name of "Samuel Der Saar,"
                with male photograph depicting who appears to be CLAUDIU PESTELEU.

           b. One JPMorgan Chase Bank N.A. card ending in "4101" in the name of "Samuel
                Der Saar".

           c.   One Wells Fargo Bank card ending in "8406" in the name of "Samuel Der Saar".

           d.   One Wells Fargo bank card ending in"7738" in the names of "Samuel Der Saar"

                and Super Exotic LLC.

           e. One Luxembourg passport, number ending in "0307" in the name of "Fred Laport,"
                with male photograph depicting who appears to be CLAUDIU PESTELEU.

        100. Following CLAUDIU PESTELEU's arrest, ICE Enforcement and Removal
Operations (ERO) compared "Thomas Muller's" fingerprints against those collected from



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CLAUDIU PESTELEU during previous primary inspections upon entering the United States. The

fingerprints matched, thereby identifying "Thomas Muller" as CLAUDIU PESTELEU.

       l0l.     In July of 2024, HSI Special Agents interviewed "Thomas Muller" at the Alachua

County Jail in Gainesville, Florida. When asked what he would like to be called during the

interview, "Thomas Muller" identified himself as CLAUDIU PESTELEU and stated that he was

born in Debrecen, Hungary in October of 1981. Without being asked by Special Agents,

CLAUDIU PESTELEU volunteered that he believed they wanted to interview him because he had

fraudulent documents during his arrest by GPD.

       lO2. On July 12,2024,HSI Deming received information indicating that on July 9, 2023,
the St. Johns Counry, Florida Sheriff s Office (SJCSO) stopped a white 2023 BMW X7. During

the stop, SJCSO Deputies encountered two male subjects who identified themselves as "Thomas

Muller" and the person believed to be Co-Conspirator 2.

       103. CLAUDIU PESTELEU appeared to be one and the same as the person depicted in
surveillance records withdrawing cash from Zammer Equipment Bank of America, N.A. account

ending in "8038," and "Matthias Zammer," which is a known alias of CLAUDIU PESTELEU,

who is associated with Bank of America, N.A. account ending in "2238," as well as the person

depicted in Belgium passport in the name of "Samuel Der Saar."

       104. CLAUDIU PESTELEU appeared to be one and the same as the person depicted in
                                                          o'Fred
surveillance records withdrawing cash on June 04,2024,             Laport," which is a known alias of

CLAUDIU PE,STELEU, Truist bank account ending in"7893," as well as the person depicted in

Luxembourg passport in the name of "Fred Laport." The withdrawn cash is believed to be proceeds

from victims.

       105. CLAUDIU PESTELEU appeared to be one and the same as the person depicted in


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 surveillance records withdrawing cash on June 20,2024, from Super Exotic Deals Truist bank

account ending in "0869," associated with "samuel Der Saar," which is a known alias of

CLAUDIU PESTELEU. The withdrawn cash is believed to be proceeds from victims.

        106. To date, HSI Deming has identified fifteen victims who collectively transferred
approximately $525,000, to accounts controlled by Zammer Equipment, as well as two victims

who collectively transferred $327,000 to bank accounts controlled by ..Samuel Der Saar,,
                                                                                           , and/or
Super Exotic Deals, prior to CLAUDIU PESTELEU,s arrest.

        lo7   - HSI Deming discovered a photograph posted to CLAUDIU PESTELEU,s spouse,s
Facebook account, on September 21,2023, depicting Co-Conspirator 2, and Co-Conspirator
                                                                                               2,s

spouse, alongside CLAUDIU PESTELEU,s spouse.

        108. In September of 2024,ICE ERO notified HSI Deming that CLAUDIU PESTELEU
is scheduled to be removed from the United States on or about October 10,2024, in the absence

of legal process requiring him to remain in the United States.

                                         CONCLUSION

       109. Based on the above information, I respectfully submit that there is probable cause
to believe that CLAUDIU PESTELEU conspired to commit wire fraud in violation of sections
                                                                                               l8
U.S.C. $$1343 and 1349 and conspired to commit money laundering in violation of sections lg

U.S.C. $$ 19s6 and1957.




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                                            Respeetful ly Submitted,




                                            Juan C. Sanchez
                                            Special Agent
                                            Flomeland Security Investigations




Electronically submitted and telephonically sworn to before me on

october /,rorq.




     HONORABLE DAMIAN L.
LINTTED STATES MAGISTRATE JUDGE




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